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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 07-cv-00371-RPM-MEH

CHARLES CALDWELL, and
VICKI CALDWELL,

       Plaintiffs,

v.

THE COUNTY OF PARK, a body corporate and politic and a political subdivision of the State
of Colorado,
FRED WEGENER,
MONTE GORE,
GREGORY S. FLINT,
STEVEN GROOME,
SHAWNA WHITEOWL, and
MARK DAMON,

      Defendants.
______________________________________________________________________________

                             JOINT STATEMENT
______________________________________________________________________________

       The parties, by and through their respective counsel of record, submit the following Joint

Statement pursuant to the Court’s order dated January 14, 2008 [CM/ECF 32]:

       I.      DISCOVERY

       Discovery in this case is not yet complete. The Park County Defendants issued written

discovery requests to the Plaintiffs on October 22, 2007. Plaintiffs responded on November 19

and 20, 2007. Plaintiffs disclosed an expert witness on January 29, 2008. Plaintiffs issued

written discovery to each of the Defendants on January 31, 2008. Defendants’ responses are

presently due to be served no later than March 4, 2008 pursuant to the Federal Rules of Civil
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Procedure. Defendant Damon issued written discovery to the Plaintiffs on January 31, 2008.

Plaintiffs’ responses are similarly due to be served no later than March 4, 2008.

       The following depositions are presently scheduled or anticipated:

        Witness                                    Date
        Charles Caldwell                           February 26, 2008
        Vicki Caldwell                             February 27, 2008
        Monte Gore                                 March 5, 2008
        Greg Flint                                 March 5, 2008
        Fred Wegener                               March 6, 2008
        Jeff Tucker                                March 19, 2008
        Richard Reisler                            March 19, 2008
        Mark Damon                                 TBD
        Shawna Whiteowl                            TBD
        Steven Groome                              TBD


       The parties are working diligently to schedule the remaining depositions. While it is

possible that the parties may take additional depositions beyond those listed above, the parties

believe discovery can be completed by May 15, 2008, and plan to submit a stipulated motion to

the court.

       II.     PRE-TRIAL ORDER

       It is likely the parties will be able to agree on a pre-trial order without the need for a pre-

trial conference. In the event a pre-trial conference becomes necessary, the parties agree to

submit such a request to the Court.
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       III.    MOTIONS

       There are presently no motions pending. The Park County Defendants anticipate filing a

dispositive motion on one or more grounds. The parties plan to submit a stipulated motion to

extend the dispositive motion deadline to June 16, 2008.

       IV.     JURY TRIAL

       Plaintiffs demanded a trial by jury. The Park County Defendants demanded a trial by

jury. Defendants Whiteowl and Damon did not demand a trial by jury.

       V.      EXPECTED LENGTH OF TRIAL

       The parties anticipate the trial of this matter will last five (5) trial days.

       VI.     SETTLEMENT

       The parties have not yet discussed settlement in depth, but the parties will discuss

settlement in depth following the upcoming depositions and will file an appropriate motion with

the Court requesting a referral for settlement purposes to the assigned United States Magistrate

Judge if the parties believe such a referral is appropriate.
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       Dated this 28th day of February 2008.

                                   Respectfully submitted,


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                           CERTIFICATE OF SERVICE (CM/ECF)

         I HEREBY CERTIFY that on the 28th day of February 2008, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system that will send notification of such
filing to the following e-mail addresses:

James A. Reed, Esq.                             Michael K. Obernesser, Esq.
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and hereby certify that I have mailed or served the document or paper to the following non-
CM/ECF participant in the manner (mail, hand delivery, etc.) indicated by the non-participant’s
name:

None


                                                     s/Martha Fiser, Legal Secretary to
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